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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 (Fort Myers Division)

                          Case No.

     VALERIE MERCURIO,

           Plaintiff,

     vs.

     GULFSHORE INSURANCE, INC.,

           Defendant.
                                             /

                                       COMPLAINT

                        Count I: Family and Medical Leave Act

           Plaintiff, Valerie Mercurio, sues defendants, Gulfshore Insurance, Inc.,

     and shows:

                              Introduction and Summary

           1.     This is an discrimination and retaliation claim by Valerie

     Mercurio, a then-60-year-old woman fired by Gulfshore Insurance, Inc.

     ("Gulfshore"), One, after her having worked for the company 38 years, and,

     Two, within three weeks of her returning from a 12-week absence taken

     pursuant to the Family and Medical Leave Act (“FMLA”) to recover from

     rotator-cuff surgery. The only reasons given to her as she was fired was

     that her “heart isn’t in it anymore” and that her sales were low — although




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they were not as low as those of three substantially younger male agents.

Ms. Mercurio brings her retaliation claim pursuant to the FMLA and her

discrimination claims pursuant to the Florida Civil Rights Act of 1992 (FCRA),

under each of which she seeks all available relief.

                            Jurisdiction and Venue

      2.      This Court has federal-question jurisdiction over Mercurio’s FMLA

claim pursuant to 28 U.S.C. § 1331; it has supplemental jurisdiction

pursuant to 28 U.S.C. § 1367 because her FCRA discrimination claims are so

related to her FMLA termination claim that “they form part of the same case

or controversy under Article III of the United States Constitution.”

      3.      Venue is proper in the Fort Myers jurisdiction because the cause

of action arose in Collier County, which is where Ms. Mercuio resides, where

Gulfshore maintains its principal place of business and where the claims

arose.

                                     Parties

      4.      Valerie Mercurio at all times material was a 60-year-old woman

whom Gulfstream had employed since October 28, 1980. She was

protected:

              a.    by the FMLA, 29 U.S.C. § 2601, et seq., because she was

fired less than a month after her return to work;

              b.    by the FCRA, § 760.01, et seq., FLA. STAT., because she

was, after 38 years on the job, presumptively qualified and was:




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                  i.    over 40 years old, and therefore protected the

FCRA’s age-discrimination provisions, and

                  ii.   a woman, and therefore protected by the FCRA’s

sex-discrimination provision.

      5.    Gulfshore is a Florida corporation that at all times material was:

            a.    “engaged in commerce or in any industry or activity

affecting commerce who employs 50 or more employees for each working

day during each of 20 or more calendar workweeks in the current or

preceding calendar year,” 29 U.S.C. § 2611(4)(A)(i), and is therefore an

“employer” as defined by the FMLA; and

            b.    “employing 15 or more employees for each working day in

each of 20 or more calendar weeks in the current or preceding calendar

year,” § 760.02(7), FLA. STAT., and therefore an “employer” as defined by

the FCRA.

                           Conditions Precedent

      6.    All conditions precedent have been satisfied, have been waived

or would be futile.

                            General Allegations

      7.    Ms. Mercurio was terminated October 1, 2018 by Gulfshore as an

insurance agent, a position that she he had held (with various job titles and

responsibilities) since being hired October 24, 1980.




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      8.    Ms. Mercurio was fired within three weeks of returning from 12

weeks that she took off pursuant to the Family and Medical Leave Act to

have a torn rotator cuff repaired.

      9.      Gulfshore’s president, Brad Hamemeier, told Ms. Mercurio that

she was being terminated because she wasn’t meeting her sales goals and

that her “heart is not longer in it.”

      10.   Sales records that Ms. Mercurio had seen just before the October

1 meeting, however, showed that three substantially younger males (who

did not similarly get fired) had lower sales than she did — with a

substantially easier commercial market to sell to and without any of them

having been out on FMLA leave.

      11.   Mr. Hamemeier’s response to Ms. Mercurio’s assertion about the

three younger agents was to tell Ms. Mercurio, “don’t even go there.”

      12.   Gulfshore's firing Ms. Mercurio because she had taken time off

for surgery and recovery pursuant to her rights under the FMLA — causation

of which can be inferred from the temporal proximity of her return to work

and her termination — violated the FMLA.

      13.   As a direct, natural, proximate and foreseeable result of the

actions of Gulfshore, Ms. Mercurio has suffered past and future pecuniary

losses, i.e., lost wages and employment benefits as envisioned by 29 U.S.C.

§ 2617(a)(1)(A)(i) and (ii).




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      14.   Gulfstream’s firing Ms. Mercurio because she had taken time off

pursuant to the FMLA was willful, as envisioned by 29 U.S.C. § 2617(c)(2),

entitling Ms. Mercurio to recover liquidated damages pursuant to 29 U.S.C. §

2617(a)(1)(A)(iii).

      15.   Ms. Mercurio is additionally entitled, pursuant 29 U.S.C.

§ 2617(a)(1)(B), to equitable relief, e.g., reinstatement or front pay.

      16.   Ms. Mercurio is entitled to recover reasonable attorneys' fees and

litigation expenses pursuant to 29 U.S.C. 2617(a)(3).

      WHEREFORE, Plaintiff, Valerie Mercurio, prays that this Court will:

      One, enter a judgment that Gulfshore's termination of Ms. Mercurio

violated Ms. Mercurio's rights under the FMLA;

      Two, enjoin Gulfshore and its agents from continuing to violate

Plaintiff's statutory rights under the FMLA and to make Ms. Mercurio whole

through reinstatement, back pay and restoration of seniority and benefits;

      Three, enter a judgment for Ms. Mercurio and against Gulfshore for

damages, including liquidated damages;

      Four, grant Ms. Mercurio her costs, reasonable attorney's fees and

litigation expenses, and

      Five, grant Ms. Mercurio such other and further relief as is just.

              Count II: FCRA Claim for Age Discrimination

      17.   Plaintiff, Valerie Mercurio, realleges and adopts, as if fully set

forth in Count II, the allegations of ¶¶ 1, 2, 3, 4(b), 5(b), 6, 7, 9, 10 and 11.




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                       Applicable Statutory Provisions

      18.     The FCRA provides in pertinent part at § 760.10(1), FLA. STAT.,

as follows:

      It is an unlawful employment practice for an employer:

             (a) To discharge . . . any individual, or otherwise to discriminate
      against any individual with respect to compensation, terms, conditions,
      or privileges of employment, because of such individual's . . . sex, . . .
      [or] age. . . .

           (b) To limit, segregate, or classify employees ... in any way
      which would deprive or tend to deprive any individual of employment
      opportunities, or adversely affect any individual's status as an
      employee, because of such individual's . . . sex, . . . [or] age. . . .

                             Conditions Precedent

      19.     Gulfshore's firing Ms. Mercurio because her sales were down, but

not firing three substantially younger males who were similar in all

meaningful respects, raised the inference of age discrimination in violation of

§ 760.10(1), FLA. STAT.

      20.     As a direct, natural, proximate and foreseeable result of the

actions of Gulfshore, Ms. Mercurio has suffered past and future pecuniary

losses, emotional pain, suffering, inconvenience, mental anguish, loss of

enjoyment of life, and other non-pecuniary losses.

      21.     In acting as it did towards Ms. Mercurio, Gulfshore acted with

reckless indifference towards Ms. Mercurio's statutory rights against age

discrimination, thereby justifying an award of punitive damages against it.




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      22.   The age discrimination that Ms. Mercurio suffered, in violation of

her statutory rights to be free from such discrimination, constituted

irreparable harm for which there is no adequate remedy at law, thereby

entitling her to equitable relief, e.g., reinstatement or front pay.

      23.   Ms. Mercurio is entitled to recover reasonable attorneys' fees and

litigation expenses pursuant to § 760.11(5), FLA. STAT.

      WHEREFORE, Plaintiff, Valerie Mercurio, prays that this Court will:

      One, enter a judgment that Gulfshore's termination of Ms. Mercurio

violated Ms. Mercurio's rights against age discrimination under the Florida

Civil Rights Act of 1992;

      Two, enjoin Gulfshore and its agents from continuing to violate

Plaintiff's statutory rights under the FCRA and to make Ms. Mercurio whole

through reinstatement, back pay and restoration of seniority and benefits;

      Three, enter a judgment for Ms. Mercurio and against Gulfshore for

damages, both compensatory and punitive;

      Four, grant Ms. Mercurio her costs, reasonable attorney's fees and

litigation expenses pursuant to § 760.11(5), FLA. STAT.; and

      Five, grant Ms. Mercurio such other and further relief as is just.

              Count III: FCRA Claim for Sex Discrimination

      24.   Plaintiff, Valerie Mercurio, realleges and adopts, as if fully set

forth in Count III, the allegations of ¶¶ 1, 2, 3, 4(b), 5(b), 6, 7, 9, 10 and

11, 18, 19, 20 and 23.




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      25.   In acting as it did towards Ms. Mercurio, Gulfshore acted with

reckless indifference towards Ms. Mercurio's statutory rights against sex

discrimination, thereby justifying an award of punitive damages against it.

      26.   The sex discrimination that Ms. Mercurio suffered, in violation of

her statutory rights to be free from such discrimination, constituted

irreparable harm for which there is no adequate remedy at law, thereby

entitling her to equitable relief, e.g., reinstatement or front pay.

      WHEREFORE, Plaintiff, Valerie Mercurio, prays that this Court will:

      One, enter a judgment that Gulfshore's termination of Ms. Mercurio

violated Ms. Mercurio's rights against sex discrimination under the Florida

Civil Rights Act of 1992;

      Two, enjoin Gulfshore and its agents from continuing to violate

Plaintiff's statutory rights under the FCRA and to make Ms. Mercurio whole

through reinstatement, back pay and restoration of seniority and benefits;

      Three, enter a judgment for Ms. Mercurio and against Gulfshore for

damages, both compensatory and punitive;

      Four, grant Ms. Mercurio her costs, reasonable attorney's fees and

litigation expenses pursuant to § 760.11(5), FLA. STAT.; and

      Five, grant Ms. Mercurio such other and further relief as is just.




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                                                      Respectfully submitted,

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